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              Exhibit 7
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                     Decentraland
                     A blockchain-based virtual world

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                     Abstract
                     Decentraland is a virtual reality platform powered by the Ethereum blockchain. Users
                     can create, experience, and monetize content and applications. Land in Decentraland
                     is permanently owned by the community, giving them full control over their creations.
                     Users claim ownership of virtual land on a blockchain-based ledger of parcels.
                     Landowners control what content is published to their portion of land, which is
                     identified by a set of cartesian coordinates (x,y). Contents can range from static 3D
                     scenes to interactive systems such as games.


                     Land is a non-fungible, transferrable, scarce digital asset stored in an Ethereum smart
                     contract. It can be acquired by spending an ERC20 token called MANA. MANA can also
                     be used to make in-world purchases of digital goods and services.


                     People are spending increasingly more time in virtual worlds, for both leisure and
                     work1. This occurs predominantly in 2D interfaces such as the web and mobile phones.
                     But a traversable 3D world adds an immersive component as well as adjacency to
                     other content, enabling physical clusters of communities.


                     Unlike other virtual worlds and social networks, Decentraland is not controlled by a
                     centralized organization. There is no single agent with the power to modify the rules of
                     the software, contents of land, economics of the currency, or prevent others from
                     accessing the world.


                     This document lays out the philosophical underpinnings, technical foundations, and
                     economic mechanisms of Decentraland.
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                     1 The State of Mobile, Flurry Analytics Blog. https://flurrymobile.tumblr.com/post/155761509355
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                         01 Introduction
                         Decentraland provides an infrastructure to support a shared virtual world, also known
                         as a metaverse2. It consists of a decentralized ledger for land ownership, a protocol for
                         describing the content of each land parcel, and a peer-to-peer network for user
                         interactions.




                         1.1 Rationale
                         The development of large proprietary platforms, such as Facebook, has allowed
                         hundreds of millions of users to gather, interact, share content, and play games. Their
                         network eﬀects helped cultivate vast online communities and gaming companies.
                         These platforms, controlled by centralized organizations, manage the network’s rules
                         and content flow, while extracting significant revenue from the communities and
                         content creators who drive traﬀic to the platforms. Decentraland aims to establish a
                         network that allows its content creators to own and capture the full value of their
                         contributions.


                         The current team began working on Decentraland in 2015. At the time, the adoption of
                         cryptoassets was still in its infancy, as much of the blockchain-based infrastructure
                         necessary for a consumer-oriented platform was lacking. Since then, the rate of
                         consumer adoption and infrastructure creation has exploded. For instance, by July
                         2017, Coinbase alone reached 8.4 million user accounts, with half of these added over
                         the past 12 months4. This growth has given rise to a pool of users large enough to fuel
                         the decentralized commerce that will take place in a virtual world like Decentraland.
                         While blockchain infrastructure, spearheaded by Ethereum, is now more widely
                         available, the lack of an eﬀicient method to quickly process micropayments constrains
                         the throughput of network transactions.


                         The maturation of cryptocurrencies as a global, instant, and low cost payment method
                         is still evolving. Payment transactions will need to occur oﬀ-chain to achieve short- to
                         medium-term scalability in blockchain payment networks. Solutions such as Bitcoin's
                         Lightning Network5 or Ethereum's state channels6 are on the verge of enabling a fast,
                         global payment system with low fees.
 01. Introduction 4/14




                         2 “The Metaverse”. Wikipedia. https://en.wikipedia.org/wiki/Metaverse
                         3 http://www.kccllc.net/thq/document/1213398130702000000000003
                         4 https://www.coinbase.com/about
                         5 “Lightning Apps and the Emerging Developer Ecosystem on LND”. Lightning Network’s Blog.
                            http://lightning.community/software/lnd/lightning/2017/07/05/emerging-lightning-developer-ecosystem/
                         6 “Sprites: Payment Channels that Go Faster than Lightning”. A. Miller, I. Bentov, R. Kumaresan, P. McCorry, 2017.
                           https://arxiv.org/pdf/1702.05812.pdf
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                                        More centralized solutions can work today7, although at the expense of operability
                                        with other systems, privacy, and standardization. Decentraland is built on the premise
                                        that low cost, direct payments between content creators and users will radically
                                        change internet commerce.


                                         1.2 History
                                        Decentraland began as a proof of concept for allocating ownership of digital real estate
                                        to users on a blockchain. This digital real estate was initially implemented as a pixel on
                                        an infinite 2D grid, where each pixel contained metadata identifying the owner and
                                        describing the pixel's color. The experiment was entitled Decentraland’s Stone Age.



                             Figure 1: Stone Age. A
                          visual representation of
                              the blockchain state.
                                 Users could mine,
                         transfer, and change the
                          color of pixels they own.




                                        In late 2016, the team started developing the Bronze Age, a 3D virtual world divided
                                        into land parcels. The owner of each parcel was able to associate it with a hash
                                        reference to a file, using a modified Bitcoin blockchain. From this reference, users
                                        exploring the virtual world could use a Distributed Hash Table (DHT) and BitTorrent to
                                        download the file containing the parcel’s content, which defines the models and
                                        textures to be displayed at that location.


                                        We hosted the first world viewer at decentraland.org/world. Any enthusiast can run a
                                        node, download and verify the blockchain, and explore the world by following more
                                        advanced instructions8.

                             Figure 2: Bronze Age.
                            Structures created by
                          the community around
                               the Genesis parcel,
                           located at coordinates
                                              (0,0)
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                                         7 “Near-zero fee transactions with hub-and-spoke micropayments”. Peter Todd, bitcoin-development mailing list,
                                         December 2014. https://www.mail-archive.com/bitcoin-development@lists.sourceforge.net/msg06576.html
                                         8 https://github.com/decentraland/bronzeage-node#run-a-node
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                         The next version of Decentraland, the Iron Age, will create a social experience with an
                         economy driven by the existing layers of land ownership and content distribution. In
                         the Iron Age, developers will be able to create applications on top of Decentraland,
                         distribute them to other users, and monetize them.


                         The Iron Age will implement peer-to-peer communications, a scripting system to
                         enable interactive content, and a system of fast cryptocurrency payments for in-world
                         transactions. A communication layer is essential for social experiences, providing
                         positioning, postures, voice chat, and more; Decentraland achieves this with a P2P
                         network. The scripting system is the tool that landowners will use to describe the
                         behavior and interactions of 3D objects, sound, and applications running on land
                         parcels. Finally, a payment system with low fees is key to developing an economy in
                         the quick environment of a virtual world.



                         1.3 A Traversable World
                         The adjacency of land makes Decentraland parcels unique from web domains. New
                         land parcels must be contiguous to existing ones. This adjacency allows for spatial
                         discovery of new content and the creation of districts devoted to a special topic or
                         theme. While each web domain can have an unlimited number of hyperlinks to other
                         content, parcels in Decentraland have a fixed amount of adjacencies. Additionally, the
                         content of adjacent parcels can be seen from a distance. For content creators, the
                         establishment of districts provides access to targeted traﬀic; for end users, it enables
                         discovery of themed experiences. Users can travel through neighborhoods and
                         interact with applications that they stumble upon.


                         This discovery by adjacency is at odds with having infinite land: in that scenario, users
                         would have a hard time finding relevant content by traveling through it. With scarce
                         land, developers can acquire users by purchasing land in high-traﬀic areas. This will
                         allow secondary markets to develop around land ownership and rentals, as is already
                         happening on district0x.io.9



                         1.4 Foundations for an In-world Economy
                         Decentraland’s value proposition to application developers is that they can fully
                         capitalize on the economic interactions between their applications and users. To allow
                         those economic interactions, the platform must allow three things to be traded:
                         currency, goods, and services.
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                         Decentraland will integrate a core system that allows global, instant, and cost-eﬀective
                         payments between any two users on the internet. Cryptocurrencies allow for trustless
                         payment channels to be established between parties, with low-trust hub-and-spoke
                         systems already possible.

                         9 https://blog.district0x.io/decentraland-districts-40b9ada0431b
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                         For services to be provided on Decentraland, we are developing a scripting system that
                         enables developers to program the interactions between users and applications. This
                         scripting system runs exclusively on the client side but allows for diﬀerent data flow
                         models: from mere local eﬀects and traditional client-server architectures, to P2P
                         interactions based on state channels. Developers programming in it will benefit from
                         the availability of fast, cheap micropayments, provably fair games, decentralized
                         storage, and other features enabled by the advent of cryptographic techniques using
                         blockchain-based smart contracts.


                         To foster the exchange of virtual goods, economic incentives must be in place to
                         ensure the continued creation and distribution of avatars, items, and scripts. Because
                         static content can be arbitrarily copied, the user experience should empower social
                         agreements that recognize original creations. By implementing an identity system to
                         establish authorship, users will be able to track and verify an author’s consent through
                         cryptographic signatures. These experiments are already happening, as in the case of
                         Rare Pepes10.


                         1.5 Use Cases
                         Applications
                         The Decentraland scripting language will allow the development of applications,
                         games, gambling, and dynamic 3D scenes. This scripting language will be designed to
                         handle a wide range of capabilities, including creating objects, loading textures,
                         handling physics, encoding user interactions, sounds, payments, and external calls,
                         among others.


                         Content Curation
                         Users in Decentraland will gather around neighborhoods of shared interest. Being
                         located near high-traﬀic hubs will drive users to the landowners’ content.


                         Advertising
                         Brands may advertise using billboards near, or in, high-traﬀic land parcels to promote
                         their products, services, and events. Some neighborhoods may become virtual
                         versions of Times Square in New York City. Additionally, brands may position products
                         and create shared experiences to engage with their audience.


                         Digital Collectibles
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                         We expect users to publish, distribute, and collect rare digital assets issued on the
                         blockchain by their creators. Just as it occurs today in other virtual worlds or through
                         online forums, these digital assets will be traded inside this world through the
                         scripting system and be backed by the aforementioned naming system.


                         10 “Rare Pepe”. Fred Wilson. https://avc.com/2017/05/rare-pepe/
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                                       Social
                                       Groups that currently gather in online forums, chat groups, or even other centralized
                                       multiplayer games could port their communities into Decentraland. Oﬀline
                                       communities could also find in Decentraland a space to gather.

                                       Other use cases
                                       There are no technical specifications to what could be built in Decentraland.
                                       Therefore, other use cases could emerge, such as training and professional
                                       development, education, therapy, 3D design, and virtual tourism, among others.



                                      02 Architecture
                                       The Decentraland protocol is comprised of three layers:

                                       1) Consensus layer:
                                       Track land ownership and its content.


                                       2) Land content layer:
                                       Download assets using a decentralized distribution system.


                                       3) Real-time layer:
                                       Enable users’ world viewers to connect to each other.


                                       Land ownership is established at the consensus layer, where land content is
                                       referenced through a hash of the file’s content. From this reference the content can be
                                       downloaded from BitTorrent or IPFS. The downloaded file contains a description of
                                       objects, textures, sounds, and other elements needed to render the scene. It also
                                       contains the URL of a rendezvous server to coordinate connections between P2P users
                                       that are exploring the tile simultaneously. Figure 3 shows a diagram of the steps the
                                       Decentraland clients execute to provide the experience of a shared virtual world in a
                                       decentralized way.

                                     Figure 3: The
                         Decentraland protocol
                         for simultaneous users
                               in a decentralized
                                    virtual world.
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                         Additionally, two other systems are key for Decentraland’s economy to develop:


                         Payment Channel Infrastructure for fast payments with low fees.
                         Identity System that allows users to establish ownership over original creations.


                         2.1 Consensus Layer
                         Decentraland will use an Ethereum smart contract to maintain a ledger of ownership
                         for land parcels in the virtual world. We call these non-fungible digital assets LAND:
                         each LAND has unique (x, y) coordinates, an owner, and a reference to the content
                         description file, which encodes what the landowner wants to serve there.
                         Decentraland clients will connect to the Ethereum network to fetch updates to the
                         state of the LAND smart contract.


                         LAND is bought by burning MANA, a fungible ERC20 token of fixed supply. This token
                         serves as a proxy for the cost of claiming a new parcel. The LAND contract uses a burn
                         function to destroy MANA and create a new entry in the LAND registry. New parcels
                         need to be adjacent to a non-empty parcel.


                         2.2 Content Distribution Layer
                         Decentraland uses a decentralized storage system to distribute the content needed to
                         render the world. For each parcel that needs to be rendered, a reference to a file with
                         the description of the parcel’s content is retrieved from the smart contract. The current
                         solution uses the battle-tested BitTorrent and Kademlia DHT networks by storing a
                         magnet link for each parcel. However, the Inter-Planetary File System (IPFS)11 provides
                         a compelling alternative as its technology matures.


                         This decentralized distribution system allows Decentraland to work without the need
                         of any centralized server infrastructure. This allows the world to exist as long as it has
                         users distributing content, shifting the cost of running the system to the same actors
                         that benefit from it. It also provides Decentraland with strong censorship-resistance,
                         eliminating the power of a central authority to change the rules or prevent users from
                         participating.


                         However, hosting these files and the bandwidth required to serve this content has
                         significant costs. Currently, users of the Decentraland P2P network are seeding the
                         content without compensation and out of goodwill. However, in the future, this
                         infrastructure cost can be covered by the use of protocols like Filecoin12. Until this
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                         technology becomes available, automated micropayments can be used to pay for
                         quality of service. The proceeds of Decentraland’s continuous sale of MANA can cover
                         these costs over the long run (see Section 3.2).

                         11 https://ipfs.io
                         12 https://filecoin.io/
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                          The description of a parcel will contain a list of diﬀerent files required to render it, a list
                          of services hosted by the landowner, and an entry point to orchestrate the placement
                          of objects and their behavior. This document must declare:


                          Content files
                          References to, or blobs with, 3D meshes, as well as textures, audio files, and other
                          relevant content required to render the parcel. These are specified so that the client
                          knows what contents the renderization will need, without any instructions on how to
                          place them.


                          Scripting entry point
                          The scripting system controls how the content is placed in the parcel, as well as its
                          behavior. This enables applications and animations to take place within the parcel. It
                          also coordinates behaviors such as the positioning and movement of objects, the
                          timing and frequency of sounds played, the possible interactions with users, among
                          other features.


                          P2P interactions
                          This allows the client to connect to a server that bootstraps user-to-user connections,
                          coordinates positions and postures, and enables voice chat and messaging.


                          2.3 Real-Time Layer
                          Clients will communicate with each other by establishing peer-to-peer connections
                          with the help of servers hosted by landowners or third parties. Without a centralized
                          server, peer-to-peer connections are needed to provide social interactions between
                          users, as well as applications that the landowner wants to run inside the parcel. To
                          coordinate the bootstrap of peer-to-peer connections, landowners will have to provide
                          rendezvous servers or understand that users will not be able to see each other in their
                          parcel.


                          The maintenance of these servers can be incentivized the same way as content
                          servers. When lightweight protocols like STUN13 can cover the functionality required
                          from the server, the costs would be fairly low. But for more advanced features, such as
                          a voice chat between multiple concurrent users or network traversal services,
                          micropayments can be used to cover the operating costs.

                          The social experience of users in Decentraland will include avatars, the positioning of
                          other users, voice chat, messaging, and interaction with the virtual environment. The
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                          diﬀerent protocols used to coordinate these features can work on top of existing P2P
                          solutions like Federated VoIP or WebRTC.14



                          13 https://tools.ietf.org/html/rfc5389
                          14 https://webrtc.org/
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                          2.4 Payment Channels
                          General purpose, public, and distributed HTLC networks like Lightning may be at least
                          one year away from materializing, but low-trust hub-and-spoke payment channel
                          networks allow for fast and low-cost transactions that can be implemented today.


                          Payment channels are key for Decentraland for two reasons:


                             In-world purchases
                             Incentivizing quality of service of content and P2P servers


                          Today, platforms mitigate the risk inherent in credit card payments: users trust the
                          platform, rather than the application, with their payment details. With payment
                          channels, they could make direct purchases to the developer with no risk of identity
                          theft.


                          Some parts of Decentraland’s infrastructure can be paid for with micropayments.
                          These costs include hosting content, serving it, and running P2P protocols like spatial
                          audio processing for multiple users. The marginal cost of running applications on
                          Decentraland for developers, given a market of incentivized servers to provide the
                          infrastructure, approaches its real cost as this becomes essentially commoditized.
                          However, in order to have no barrier to entry for incoming developers, Decentraland
                          will subsidize these services with the proceeds of selling MANA tokens.



                          2.5 Identity System
                          Decentraland’s ownership of land is one kind of identity system, where credentials are
                          the coordinates of one’s land. Economic incentives are also necessary to ensure that
                          the creators of avatars, items, and scripts continue building and distributing them.
                          Since content can be arbitrarily copied, we must rely in social agreements to enforce
                          retribution to the creator.


                          Social agreements can make digital scarcity possible. In centralized systems, this
                          scarcity is defended by the company that creates the platform. For Bitcoin and other
                          proof-of-work blockchains, scarcity is enabled by a computational puzzle and the fact
                          that mining blocks requires an onerous economic sacrifice.

                          Decentraland can use decentralized identity systems to create a layer of ownership
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                          over in-world items. This system must allow users to easily verify the consent of an
                          author by linking public keys and signatures with human-readable names.
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                     Projects like uPort15 or the Ethereum Name Service16 can be used to do this. Social
                     reputation is also needed to facilitate contributions to the author.


                     The ability to incentivize content creation on decentralized economies is evolving
                     quickly, with multiple projects working in the space directly or indirectly. Potential
                     solutions include Mediachain17, Curation Markets18, Rare Pepes19, and more.




                     03 Economy
                     In Section 1.1, we make a case for how the increasing adoption of cryptocurrencies
                     creates the necessary conditions for the emergence of a distributed platform for a
                     virtual world. Below, we introduce the utility of LAND and the MANA token, how their
                     strategic allocation can help bootstrap the utility of the network, and outline how the
                     issuance of MANA will be conducted.


                     3.1 LAND and the MANA Token
                     With the launch of the Iron Age, we are introducing two digital assets: LAND, the
                     non-fungible parcels in which the virtual world is divided; and MANA, an ERC-20 token
                     that is burned to claim LAND, as well as to make in-world purchases of goods and
                     services.


                     The utility of LAND is based on its adjacency to other attention hubs, its ability to host
                     applications, and also as an identity mechanism. Developers and other content
                     creators will demand LAND so that they can build on top of it and reach their target
                     audience. Although every unclaimed LAND can be purchased at the same exchange
                     rate (1000 MANA = 1 LAND), LAND parcels are distinguishable from each other,
                     potentially trading at diﬀerent prices on a secondary market due to diﬀerences in
                     adjacencies and traﬀic.


                     On the other hand, MANA serves as a proxy to asses the price of a new parcel of LAND.
                     Also, MANA used to buy goods and services in the virtual world creates utility value for
                     the token.
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                     15 https://www.uport.me/
                     16 The Ethereum Name System is one of the most successful projects in this area: https://ens.domains/
                     17 http://www.mediachain.io/
                     18 “Curation Clubs: Tokenizing & Incentivizing Public Funding With Curation Markets”. Simon de la Rouviere. 2017.
                        https://medium.com/@simondlr/276613e641f0
                     19 http://avc.com/2017/05/rare-pepe/
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                        3.2 Fostering the Network
                        Land ownership is acquired through an ERC-20 token called MANA. This token will
                        serve to bring value into the network, and to acquire a new parcel of land. MANA can
                        also be used to purchase in-world goods and services.


                        In order to jumpstart the network, developers and content creators will be rewarded
                        to set up shop in Decentraland. The Foundation will hold contests to create art,
                        games, applications, and experiences, with prizes contingent on meeting a set of
                        milestones. At the same time, new users will be assigned allowances, allowing them
                        to participate in the economy immediately. These financial incentives will help
                        bootstrap the utility value of the network until it independently attracts users and
                        developers.



                        04 Challenges
                        Decentralized Content Distribution
                        Content distribution through a P2P network has two main issues. The first involves
                        download speed: retrieving a file from a DHT or distributed peer-to-peer storage
                        system has traditionally been too slow. Specially, in a graphical application like
                        Decentraland, users will be adverse to using a system that does not load the
                        experience quickly. The second issue involves availability: ensuring that content is
                        suﬀiciently distributed around the network without loss. IPFS and the upcoming
                        FileCoin protocol are addressing these issues and we’re looking forward to when they
                        become production ready.


                        Scripting
                        Scripting will be the most important element used to create valuable experiences for
                        users in Decentraland. Its APIs will need to be secure enough for clients to hold private
                        keys and authorize micropayments frequently. Ease-of-use is also critical to penetrate
                        a broad audience of developers.


                        Content Curation
                        The issue of filtering content for mature audiences (like pornography, violence, or
                        gambling) is diﬀicult to solve within a decentralized network. We expect a market to
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                        emerge here: with a reputation-based approach, users could select one or more
                        providers of whitelists/blacklists that track the type of content being served on each
                        parcel.
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                     05 Summary
                     Decentraland is a distributed platform for a shared virtual world that enables
                     developers to build and monetize applications on top of it. The scarcity of land, on top
                     of which applications can be built, creates hubs that capture user attention, which
                     drives revenue to content creators. MANA tokens will be used to purchase land, goods,
                     and services in-world. MANA tokens will also be used to incentivize content creation
                     and user adoption, therefore bootstrapping the first decentralized virtual world.
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